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                                  UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF LOUISIANA

Michael James Vaughn                                                         Case No. 19-11244

Debtor                                                                       Chapter 13

                 CHAPTER 13 PLAN AND MOTION FOR FRBP RULE 3012 VALUATION

☑ Original plan
❏ Amended plan – Date amended: _______________
❏ Modified plan (post-confirmation) – Date modified: _______________
        Reason for modification:
        ___________________________________________________
        ___________________________________________________________________

To Creditors:

         Your rights may be affected by this plan. Your claim may be reduced, modified, or
         eliminated.

         You should read this plan carefully and discuss it with your attorney if you have one in this
         bankruptcy case. If you do not have an attorney, you may wish to consult one.

         If you oppose the plan's treatment of your claim or any provision of this plan, you or your
         attorney must file an objection to confirmation at least 15 days before the date set for the hearing
         on confirmation, unless otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may
         confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy
         Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any
         plan.

         The following matters may be of particular importance. Debtors must check one box on each line
         to state whether or not the plan includes each of the following items. If an item is checked as "Not
         Included" or if both boxes are checked, the provision will be ineffective if set out later in the plan.

  1.1    Nonstandard provisions, set out in paragraph 12                    ❏ Included       ☑ Not Included

  1.2    A limit on the amount of a secured claim (cramdown), set
         out in paragraph 5(E), which may result in a partial               ☑ Included       ❏ Not Included
         payment or no payment at all to the secured creditor

  1.3    Avoidance of a judicial lien or nonpossessory, nonpurchase
                                                                            ❏ Included       ☑ Not Included
         money security interest, set out in paragraph 5(G)




(2)      Payment and Term

         The Debtor's future earnings are submitted to the supervision and control of the trustee, and the

Debtor shall pay to the trustee $1,000.00 monthly for 60 months.

         From the Debtor's payments to the trustee, the trustee shall distribute funds as provided in this

plan:
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(3)     Trustee Claims

        The trustee shall receive $6,000.00 as an administrative expense entitled to priority under

11 U.S.C. §507(a)(1) (ten percent (10%) of "payments under the plan").

(4)     Priority Claims

        A.      ATTORNEY FEES

                                             Fees Debtor      Fees to be
                                              paid pre-      paid through         Term           Monthly
      Attorney's Name         Total Fees       petition        the plan         (Months)       Installment
                                                                                    1           $900.00
      Dickson Law Firm        $3,000.00       $1,550.00        $1,450.00            2           $550.00


        B.      TAXES

        The following claims entitled to priority under 11 U.S.C. §507 shall be paid in full in deferred cash

payments unless the holder of a claim has agreed to a different treatment of its claim, as specified in

paragraph 12.

                                                          Amount              Term            Monthly
                 Name of Creditor                         of Claim          (Months)        Installment




        C.      DOMESTIC SUPPORT OBLIGATIONS ("DSO")

                1.       Ongoing DSO claims

                         a.       ☑ None. If none, skip to paragraph (5) "Secured Claims" below.

                         b.       Debtor(s) shall pay all post-petition DSO claims directly to the
                                  holder(s) of the claim(s), and not through the chapter 13 trustee.

                         c.       List the name(s) and address(es) below of the holder(s) of any DSO as
                                  defined in 11 U.S.C. §101(14A). Do not disclose names of minor children,
                                  who must be identified only as "Minor child #1," "Minor child #2," etc.
                                  See 11 U.S.C. §112.

                                                                                               Monthly
  Name of DSO claim holder                       Address, city, state and zip                  payment




                2.       DSO Arrearages

                         a.       ☑ None. If none, skip to paragraph (5) "Secured Claims" below.
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                        b.      The trustee shall pay DSO arrearages from the Debtor's plan payments.
                                List the name and address of the holder of every DSO arrearage claim,
                                amount of arrearage claim and monthly payment below. Do not disclose
                                names of minor children, who must be identified only as "Minor child
                                #1," "Minor child #2," etc. See 11 U.S.C. §112.

                                                                 Arrearage        Term         Monthly
            Name and address of DSO claim holder               Claim Amount     (Months)     Installment

  Name:

  Address:                                                            $                            $


                        c.      Except to the extent arrearages are included in the order, pre-petition
                                assignment orders shall remain in effect and the Debtor shall continue to
                                make payments pursuant to the terms of the order.

                3.      DSO assigned or owed to a governmental unit under 11 U.S.C. §507(a)(1)(B)

                        a.      ☑ None. If none, skip to paragraph (5) "Secured Claims" below.

                        b.      Pursuant to any pre-petition income assignment order, the Debtor shall
                                make all post-petition payments on DSO claims assigned to a
                                governmental unit directly to the assignee of the claim.

                        c.      List the name and address of the holder of every assigned DSO arrearage
                                claim, amount of arrearage claim and monthly payment amount or other
                                special provisions below. The Debtor also shall describe in detail any
                                special provisions for payments of these claims in paragraph 12 of this
                                plan.

                                                                 Arrearage        Term         Monthly
            Name and address of DSO claim holder               Claim Amount     (Months)     Installment




(5)    Secured Claims

       A.       PRINCIPAL RESIDENCE

                1.      Current Payments

                Except as otherwise provided in this plan or by court order, and pursuant to 11 U.S.C.

       §1322(b)(5) and (c), after the date of the petition and throughout this chapter 13 case, the Debtor

       shall timely make all usual and regular payments required by the debt instruments secured by

       non-voidable liens on real property (i.e., immovable property) that is the Debtor's principal

       residence, directly to each of the following lien creditors:
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                                         Security                                                Monthly
              Lienholder                 Interest         Address of Property/Collateral       Installment*

                                                              4636 Monte Vista Dr.
    Wells Fargo Home Mortgage          $294,101.00                                              $1,950.00
                                                                Addis, LA 70710

*Monthly installment subject to escrow and interest rate changes as provided in note and mortgage.

                  2.       Cure of Arrearages

                  From funds available for distribution, the trustee shall pay arrearages to lienholders

         identified in paragraph 5(A)(1) in monthly installments until the allowed arrearage claim of each

         lienholder has been satisfied. See 11 USC §1322(b)(3), (5) and (c).

                                          Pre- or Post-                        Remaining
                                            Petition       Total Amount           Term           Monthly
               Lienholder                                  of Arrearages        (Months)       Installment

     Wells Fargo Home Mortgage            Pre-Petition      $17,000.00           3-60            $293.10


         B.       SURRENDER OF PROPERTY

         Confirmation of this plan shall constitute the Debtor's surrender to the following holders of

secured claims, in satisfaction of their secured claims, all the Debtor's rights under the Bankruptcy Code,

this plan, or applicable non-bankruptcy law to the Debtor's interest in the property securing the claims:

                                                  Amount of
                  Lienholder                    Secured Claim*             Description of Collateral



*Creditors contesting the proposed amount of a secured claim must file an objection by the
time prescribed by applicable local rules. The court will take evidence to determine the
value of the secured claim at the hearing on confirmation, pursuant to Federal Rule of
Bankruptcy Procedure 3012. The creditor must file a timely proof of claim in order to be
paid.

         Confirmation of this plan will terminate the stay under 11 USC §§362 and 1301 to allow

lienholders to exercise non-bankruptcy law remedies as to the collateral. No further motion seeking stay

relief is required.

         C.       PRE-CONFIRMATION ADEQUATE PROTECTION

         Pursuant to the order of the court, all adequate protection payments to secured creditors required

by §1326(a)(1) shall be made through the Chapter 13 trustee, unless otherwise ordered, in the amount

provided in the plan for that creditor. Adequate protection payments shall be subject to the trustee's fee
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as set by the designee of the United States Attorney General and shall be made in the ordinary course of

the trustee's business from funds on hand as funds are available for distribution to creditors who have

filed a claim.

   Creditor name, address, and
    last four digits of account                                     Claim          Term          Monthly
              number                         Security              Amount        (Months)      Installment
  Name:

  Address:

  Last 4 digits of acc't no:                                           $                            $


        D.       SECURED CLAIMS NOT DETERMINED UNDER 11 U.S.C. §506

        This subsection provides for treatment of allowed claims secured by a purchase money security

interest in a vehicle acquired for the Debtor's personal use, incurred within 910 days before the date of

the petition, or other collateral for debt incurred within one year before the date of the petition. See

"hanging paragraph" following 11 U.S.C. §1325(a)(9).

        After confirmation, the trustee will make installment payments to the holder of each listed

allowed secured claim after subtracting the pre-confirmation adequate protection payments from the

amount of the claim.

                                                                                 Remaining
                                Description of           Claim      Discount       Term          Monthly
     Name of Creditor             Property              Amount        Rate       (Months)      Installment




        E.       SECURED CLAIMS DETERMINED UNDER 11 U.S.C. §506

        Any secured claims not treated in paragraphs 3(A), (B), (C), (D), (F) or (G) shall be determined

under 11 U.S.C. §506(a), Federal Rule of Bankruptcy Procedure 3007 and 3012. The trustee shall make

payments to the claim holder in an amount not less than the allowed secured claim as of the effective date

of the plan. Each holder of a secured claim shall retain the lien securing the claim until the secured value,

as determined by the court, or the amount of the claim, whichever is less, is paid in full. The holders of

the secured claims, the Debtor's proposed value and treatment of the claims are set forth below:
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                                                                                       Remaining
                                     Description of            Value     Discount        Term          Monthly
      Name of Creditor                 Property               of Claim     Rate        (Months)      Installment
                                                                                          2           $350.00
                BBVA                2016 Dodge Ram         $24,400.00      6%            3-60         $483.58


           F.      OTHER DIRECT PAYMENTS TO CREDITORS HOLDING SECURED CLAIMS

           After the date of the petition and throughout this chapter 13 case, the Debtor shall timely make all

usual and regular payments required by the debt instruments secured by non-voidable liens directly to

each of the following lien creditors:

                                             Security                                                 Monthly
                  Creditor                   Interest      Description of Property/Collateral       Installment

                 Bridgecrest               $5,669.00               2009 Nissan Armada                 $450.00
  Reason for direct payment: Spouse’s vehicle which is nearly paid off and Debtor wishes to pay for it
  directly while paying 100 percent to all other creditors.


           G.      MOTIONS TO AVOID LIEN

         The Debtor intends to avoid a judicial lien or non-possessory, non-purchase-money security
interest held by creditors listed in this section. The Debtor must file a motion to avoid the lien or security
interest; confirmation of this plan alone will not have any effect on the lien or security interest.

                    Lienholder                   Amount of Claim           Nature of Lien to be Avoided

                                                          $


(6)        Unsecured Claims

           A.      CLASS A

           Class A comprises creditors holding allowed unsecured claims, except those allowed unsecured

claims treated in paragraph 4(B). Their claims shall be paid pro rata over the period of the plan as

follows:

      Total Amount of Unsecured Claims (as                                                           Monthly
                 scheduled)*                            Discount Rate     Term (Months)            Installment

                       $5,109.00*                              -                3-60                $123.32

*Informational purposes only; to be included in Class A the claims must be allowed.
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        B.      CLASS B [IF APPLICABLE]

        Class B comprises creditors holding allowed unsecured claims for which a co-Debtor is liable. To

maintain the stay of actions against the co-Debtor pursuant to 11 U.S.C. §1301, the trustee shall pay these

creditors one hundred percent (100%) of their allowed claims plus interest, as follows:

                                                   Claim         Discount        Term          Monthly
               Name of Creditor                   Amount           Rate        (Months)       Installment




        C.      CLASS C [IF APPLICABLE]

        Class C comprises creditors holding allowed unsecured claims treated separately in a manner that

does not discriminate against other unsecured creditors.

                                                    Claim
               Name of Creditor                    Amount                          Reason

                                                       $




(7)     Liquidation Value

        The liquidation value of the estate is $322.50.

(8)     Present Value of Payments to Class A Unsecured Creditors

        The present value of the payments to be made to unsecured creditors under the plan using a

2.75% annual discount rate is $6,702.78.

(9)     Executory Contracts and Unexpired Leases

        The Debtor accept the following leases or executory contracts: None

The Debtor shall make all post-petition payments on assumed executory contracts and unexpired leases

directly to the creditor beginning with the first payment due after the petition date.

(10)    Attorney's Fees for Debtor's Counsel

        Confirmation of the plan shall constitute approval of the fees and expenses, unless the court

disallows or reduces them.

(11)    Vesting of Property

        Upon confirmation of this plan, all property of the Debtor's estate shall vest in the Debtor subject

to any mortgages, liens or encumbrances not dealt with in the plan or the order confirming the plan.
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(12)    Non-Standard Provisions

        Any non-standard provision placed elsewhere in this plan is void.


                                     CERTIFICATION OF COUNSEL


        I certify that I have explained the terms and conditions of, and obligations under, the foregoing

plan to the Debtor(s).

        Baton Rouge, Louisiana, this 28th day of October, 2019.


                                                          s/Mitchell D. Dickson_____________
                                                          Counsel for Debtor


                  CERTIFICATION OF COUNSEL OR UNREPRESENTED DEBTOR(S)
                           REGARDING NON-STANDARD PROVISIONS

        I certify that this plan contains no non-standard provisions other than those set out in

paragraph 12 and that any non-standard provision placed elsewhere in this plan is void.

                                                          s/Mitchell D. Dickson
                                                          Counsel for Debtor



Date: October 28, 2019                                    s/Michael James Vaughn
                                                          Debtor
